                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


NATIONAL LABOR RELATIONS                        )
BOARD,                                          )
                                                )
                   Petitioner,                  )      Case No. 1:17MC00018
                                                )
v.                                              )      OPINION AND ORDER
                                                )
COBALT COAL LTD., ET AL.,                       )      By: James P. Jones
                                                )      United States District Judge
                   Respondents.                 )

     Paul A. Thomas, Trial Attorney, National Labor Relations Board,
Washington, D.C., for Petitioner; Daniel R. Bieger, Dan Bieger, PLC, Bristol,
Tennessee, for Respondent Cobalt Coal Ltd.

      The petitioner in this matter, the National Labor Relations Board (“NLRB”),

brings an Application for Attorney Fees to recover fees pursuant to Federal Rule of

Civil Procedure 37(a)(5)(A) from respondent Cobalt Coal Ltd. (“Cobalt”) relating

to the attorney’s fees the NLRB incurred in making its motion to compel Cobalt to

produce documents, which I granted. Cobalt contends that the NLRB’s motion to

compel was unnecessary, and therefore the court should not award attorney’s fees.

For the reasons that follow, I will grant the NLRB’s application.

                                         I.

      The NLRB moved to compel Cobalt to produce documents in response to

the NLRB’s First and Second Requests for Production of Documents, and I granted




 Case 1:17-mc-00018-JPJ Document 24 Filed 10/25/18 Page 1 of 6 Pageid#: 524
the motion, ordering Cobalt to produce all documents responsive to the requests for

production at issue. I further granted costs and attorney’s fees to the NLRB and

ordered that the NLRB submit a certified statement of the costs and reasonable

expenses, including attorney’s fees, that it incurred as a result of Cobalt’s

noncompliance with its discovery obligation. I also ordered that following the

NLRB’s submission, Cobalt “shall submit a brief in opposition to any of the costs

claimed by the Board; failure to submit a specific opposition to any claimed cost or

expense shall constitute an admission that the claimed cost or expense is

appropriately awarded.” Order Compelling Disc. 2, ECF No. 17.

      The NLRB then filed its Application for Attorney Fees, requesting fees for a

total of 21.2 hours of time attributable to Cobalt’s failure to comply with its

discovery obligations. The NLRB requests that its fees be calculated using hourly

rates established in a matrix prepared by the United States Attorney’s Office for

the District of Columbia (“USAO”) to evaluate requests for attorney’s fees in civil

cases in District of Columbia courts. 1 Using the rates in the USAO matrix, the

NLRB requests a total of $7,503.20 in attorney’s fees. Cobalt’s response to the

NLRB’s application contends that the NLRB’s motion to compel was unnecessary,

and therefore no attorney’s fees should be awarded.


      1
         The USAO matrix is an updated version of the matrix developed in Laffey v.
Northwest Airlines, Inc., 572 F. Supp. 354 (D.D.C. 1983), also called the “Laffey
Matrix.”
                                        -2-

 Case 1:17-mc-00018-JPJ Document 24 Filed 10/25/18 Page 2 of 6 Pageid#: 525
      The issues have been fully briefed and are ripe for decision.

                                        II.

      A party may move for an order compelling discovery after attempting in

good faith to obtain discovery without court action. Fed. R. Civ. P. 37(a)(1). The

court may issue the order when the opposing party has failed to produce documents

or has provided an evasive or incomplete response, among other things. See Fed.

R. Civ. P. 37(a)(3). If the court grants a motion for an order compelling discovery,

the court must require the party whose conduct necessitated the motion to pay the

movant’s reasonable expenses incurred in making the motion, including attorney’s

fees, unless the movant filed the motion before attempting in good faith to obtain

the discovery without court action, the opposing party’s nondisclosure was

substantially justified, or other circumstances make an award of expenses unjust.

Fed. R. Civ. P. 37(a)(5)(A).

      Here, I granted the NLRB’s motion to compel Cobalt to produce documents,

along with attorney’s fees for the expenses it incurred in making the motion,

because of Cobalt’s failure to fully engage in discovery without justification and

despite the NLRB’s multiple attempts to obtain the discovery without court action.

Cobalt’s contention that the NLRB’s motion to compel was unnecessary, and thus

the court should not award attorney’s fees, is unfounded. The documents Cobalt

states that it produced prior to the NLRB’s motion did not satisfy the discovery


                                        -3-

 Case 1:17-mc-00018-JPJ Document 24 Filed 10/25/18 Page 3 of 6 Pageid#: 526
requests at issue.    Cobalt satisfied these requests only after the court’s order

compelling production. Moreover, Cobalt did not substantially justify its failure to

produce the requested documents. Accordingly, I will turn to the amount of

attorney’s fees I will award.

       “The initial estimate of a reasonable attorney’s fee is properly calculated by

multiplying the number of hours reasonably expended on the litigation times a

reasonable hourly rate.” Blanchard v. Bergeron, 489 U.S. 87, 95 (1989). 2 The

court may then adjust this initial calculation by looking to the twelve factors set

forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974)

to reach a final reasonable attorney’s fee. Jackson v. Estelle’s Place, LLC, 391 F.

App’x 239, 244-45 (4th Cir. 2010) (unpublished).

       The reasonable hourly rate is typically determined by looking to the

“prevailing market rates in the relevant community.” Rum Creek Coal Sales, Inc.

v. Caperton, 31 F.3d 169, 175 (4th Cir. 1994).               “The relevant market for

determining the prevailing rate is ordinarily the community in which the court

where the action is prosecuted sits.” Id. However, the court may consider rates

charged by attorneys in other communities when “the complexity and specialized

nature of a case may mean that no attorney, with the required skills, is available

locally, and the party choosing the attorney from elsewhere acted reasonably in

       2
         I have omitted internal quotation marks, citations, and alterations throughout this
opinion, unless otherwise noted.
                                            -4-

 Case 1:17-mc-00018-JPJ Document 24 Filed 10/25/18 Page 4 of 6 Pageid#: 527
making the choice.” Id. at 179 (quoting Nat’l Wildlife Fed’n v. Hanson, 859 F.2d

313, 317 (4th Cir. 1988)). When the relevant market is Washington, D.C., the

USAO matrix is a reasonable measure of hourly rates. Covington v. District of

Columbia, 57 F.3d 1101, 1109 (D.C. Cir. 1995).

      The NLRB requests that its fees be calculated using the hourly rates

established in the USAO matrix. In doing so, it asserts that the court should

consider rates charged by attorneys in Washington, D.C., when determining the

reasonable hourly rate in this matter.         Cobalt’s response to the NLRB’s fee

application does not specifically oppose this method of determining the reasonable

hourly rate.

      I agree with the NLRB’s use of the USAO matrix to determine the

reasonable hourly rate in this matter.     I first note that pursuant to the Order

Compelling Discovery, Cobalt’s failure to specifically oppose any claimed cost or

expense, including attorney’s fees, “constitute[s] an admission that the claimed

cost or expense is appropriately awarded.” Order Compelling Disc. 2, ECF No.

17. Moreover, it was reasonable for the NLRB to use an NLRB attorney practicing

in Washington, D.C., in this matter, as NLRB work is highly specialized. Further,

it was reasonable for the NLRB to provide its own legal counsel throughout the

case. Accordingly, I will determine the reasonable hourly rate in this matter based

on the rate of the government attorney who performed the work rather than that of


                                         -5-

 Case 1:17-mc-00018-JPJ Document 24 Filed 10/25/18 Page 5 of 6 Pageid#: 528
a local attorney. I will look to the USOA matrix to provide the reasonable hourly

rate, as it provides the rates that government attorneys can command in the

Washington, D.C., market.

      Having determined the reasonable hourly rate for this matter, I turn to the

number of hours reasonably expended.         I note that Cobalt’s response to the

NLRB’s fee application does not oppose the number of hours set out by the NLRB.

Further, I find that the number of hours is reasonable, and no adjustment based on

the Johnson factors is necessary.    Accordingly, the NLRB’s Application for

Attorney Fees, ECF No. 21, is GRANTED, and the NLRB is awarded attorney’s

fees in the amount of $7,503.20.

      It is so ORDERED.

                                             ENTER: October 25, 2018

                                             /s/ James P. Jones
                                             United States District Judge




                                       -6-

 Case 1:17-mc-00018-JPJ Document 24 Filed 10/25/18 Page 6 of 6 Pageid#: 529
